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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No.:

  CYNTHIA KEMPT,

                Plaintiff,

  v.

  COLLECTION TECHNOLOGY INCORPORATED, a California corporation,

                Defendant.


                             COMPLAINT AND JURY DEMAND


                                      JURISDICTION

  1.    Jurisdiction of this Court arises under 28 U.S.C. § 1331 and 15 U.S.C. § 1692k(d).

  2.    This action arises out of the Defendant’s violations of the Fair Debt Collection

        Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter the “FDCPA”).

                                           VENUE

  3.    Venue is proper in this District because the acts and transactions occurred here,

        the Plaintiff resides here and the Defendant transacts business here.

                                          PARTIES

  4.    Plaintiff, Cynthia Kempt, is a natural person who resides in the City of Colorado

        Springs, County of El Paso, State of Colorado.

  5.    The Plaintiff is a “consumer” as that term is defined by 15 U.S.C. § 1692a(3).
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  6.    Defendant, Collection Technology Incorporated, is a California corporation

        operating from an address at 1200 Corporate Center, Suite 325, Monterey Park,

        California, 91754.

  7.    The Defendant’s registered agent in the state of Colorado is Irvin A. Borenstein,

        Esq., 3025 S. Parker Road, Suite 711, Aurora, Colorado, 80014.

  8.    The Defendant is a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6).

  9.    The Defendant is licensed as a collection agency by the state of Colorado.

  10.   The principal purpose of the Defendant is the collection of debts using the mails

        and telephone.

  11.   The Defendant regularly attempts to collect debts alleged to be due another.

                                FACTUAL ALLEGATIONS

  12.   Sometime before December 2008 the Plaintiff allegedly incurred a financial

        obligation that was primarily for personal, family or household purposes namely

        an amount due and owing on a personal account (hereinafter the “Account”).

  13.   The Account is a “debt” as that term is defined by 15 U.S.C. § 1692a(5).

  14.   The Account went into default with the original creditor.

  15.   Sometime after the Account went into default the Account was placed or

        otherwise transferred to the Defendant for collection.

  16.   The Plaintiff disputes the Account.

  17.   The Plaintiff requests that the Defendant cease all further communication on the

        Account.
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  18.   In 2009 the Plaintiff received telephone calls from the Defendant and / or

        representatives, employees and / or agents of the Defendant who were

        attempting to collect the Account.

  19.   In 2009 the Plaintiff called the Defendant in response to the telephone calls.

  20.   The telephone calls each individually constituted a “communication” as defined

        by FDCPA § 1692a(2).

  21.   The only reason that the Defendant and / or representatives, employees and / or

        agents of the Defendant made telephone calls to the Plaintiff was to attempt to

        collect the Account.

  22.   The only reason that the Defendant and / or representatives, employees and / or

        agents of the Defendant had telephone conversations with the Plaintiff was to

        attempt to collect the Account.

  23.   The only reason that the Defendant and / or representatives, employees and / or

        agents of the Defendant received telephone call(s) from the Plaintiff was to

        attempt to collect the Account.

  24.   During the communications the Defendant and / or representatives, employees

        and / or agents of the Defendant attempting to collect the Account falsely

        threatened to garnish the Plaintiff’s wages and threatened the Plaintiff that they

        had already talked to her employer about garnishing her wages.

  25.   During the communications the Defendant and / or representatives, employees

        and / or agents of the Defendant attempting to collect the Account called the

        Plaintiff’s place of employment and discussed the Plaintiff’s account with the
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        Plaintiff’s co-worker(s) after the Plaintiff told the Defendant and / or

        representatives, employees and / or agents of the Defendant not to call her place

        of employment and that she could get in trouble for the telephone calls to her

        place of employment.

  26.   The Defendant has not filed any legal action(s) against the Plaintiff.

  27.   The Defendant has not received any judgment(s) against the Plaintiff.

  28.   The Defendant has not garnished the Plaintiff’s wages.

  29.   The Defendant did not have the authority to take legal action against the Plaintiff

        at the times that the Defendant and / or representatives, employees and / or

        agents of the Defendant had telephone conversations with the Plaintiff.

  30.   The Defendant did not intend to take legal action against the Plaintiff at the times

        that the Defendant and / or representatives, employees and / or agents of the

        Defendant had telephone conversations with the Plaintiff.

  31.   The Defendant did not have the authority to garnish the Plaintiff’s wages at the

        times that the Defendant and / or representatives, employees and / or agents of

        the Defendant had telephone conversations with the Plaintiff.

  32.   The Defendant did not intend to garnish the Plaintiff’s wages at the times that the

        Defendant and / or representatives, employees and / or agents of the Defendant

        had telephone conversations with the Plaintiff.

  33.   The statements and actions were undertaken by the Defendant and its

        representatives, employees and / or agents as part of a campaign of abusive and

        unlawful collection tactics directed at the Plaintiff.
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  34.   The Defendant and its representatives, employees and / or agents statements

        and actions constitute illegal communication in connection with debt collection

        and therefore violate FDCPA 1692c(a)(1), c(a)(3) and c(b).

  35.   The Defendant and its representatives, employees and / or agents statements

        and actions constitute harassment or abuse and therefore violate FDCPA 1692d

        preface and d(2).

  36.   The Defendant and its representatives, employees and / or agents statements

        and actions constitute false and misleading representations and means and

        violate FDCPA 1692e preface, e(2)(A), e(3), e(4), e(5), e(10) and e(11).

  37.   The Defendant and its representatives, employees and / or agents statements

        and actions constitute unfair or unconscionable means to collect or attempt to

        collect a debt and violate FDCPA 1692f preface.

  38.   The Defendant’s statements and actions as well as that of its

        representatives, employees and / or agents were attempts to frighten,

        harass and abuse the Plaintiff into paying the alleged debt.

  39.   The Defendant’s statements and actions as well as that of its

        representatives, employees and / or agents were willful and intentional

        violations of the FDCPA.

  40.   As a consequence of the Defendant’s collection activities and

        communications, the Plaintiff has sustained actual damages including

        emotional distress.

                                   RESPONDEAT SUPERIOR
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  41.   The representatives and / or collectors at the Defendant were employees of and

        agents for the Defendant at all times mentioned herein.

  42.   The representatives and / or collectors at the Defendant were acting within the

        course of their employment at all times mentioned herein.

  43.   The representatives and / or collectors at the Defendant were acting within the

        scope of their employment at all times mentioned herein.

  44.   The representatives and / or collectors at the Defendant were under the direct

        supervision and control of the Defendant at all times mentioned herein.

  45.   The actions of the representatives and / or collectors at the Defendant are

        imputed to their employer, the Defendant.

  46.   As a direct and proximate result of the aforesaid actions, the Plaintiff has suffered

        the aforementioned damages.

                                COUNT I, FDCPA VIOLATIONS

  47.   The previous paragraphs are incorporated into this Count as if set forth in full.

  48.   The acts and omissions of the Defendant and its representatives, employees and

        / or agents constitute numerous and multiple violations of the FDCPA, including

        but not limited to § 1692c(a)(1), c(a)(3), c(b), § 1692d preface, d(2), § 1692e

        preface, e(2)(A), e(3), e(4), e(5), e(10), e(11) and § 1692f preface.

  49.   The Defendant’s violations are multiple, willful and intentional.

  50.   Pursuant to FDCPA section 1692k the Plaintiff is entitled to actual damages,

        statutory damages up to $1,000.00, reasonable attorney's fees and costs.
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                                JURY TRIAL DEMAND

  The Plaintiff is entitled to and hereby demands a trial by jury. U.S. Const. amend. 7.,

  Fed. R. Civ. Pro. 38.

                                        PRAYER

  WHEREFORE, the Plaintiff prays that the Court grants the following:

  1.   Actual damages under 15 U.S.C. § 1692k(a)(1).

  2.   Statutory damages under 15 U.S.C. § 1692k(a)(2)(A).

  3.   Reasonable attorneys fees and costs pursuant to 15 U.S.C. § 1692k(a)(3).

  4.   Such other and further relief as the Court deems just and proper.

                                          Respectfully submitted,


                                          _s/ David M. Larson___________
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